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6                         UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
7
8
     Orlando Garcia,                           ) Case No.: 2:21-cv-00205-AB-JC
9                                              )
             Plaintiff,                        ) Plaintiff’s Notice of Voluntary
10                                             ) Dismissal Pursuant to FRCP 41(a)
       v.                                      )
11
                                               )
     Dream Investment Group LLC, a             )
12   California Limited Liability Company; Jose)
     Manuel Zavala,
13                                             )
             Defendants                        )
14                                             )
                                               )
15
16
                   PLEASE TAKE NOTICE that Plaintiff Orlando Garcia, hereby
17
     voluntarily dismisses the above captioned action without prejudice pursuant
18
     to Federal Rule of Civil Procedure 41(a)(1)(A)(i).
19
            The Court has stricken the Answer of Defendant Dream Investment
20
     Group LLC (Dkt. No. 45, 66); Defendant Jose Manuel Zavalza has not filed an
21
     Answer; and neither Defendant has filed a motion for summary judgment.
22
     Accordingly, this matter may be dismissed without an Order of the Court.
23
24   Dated: January 31, 2023                 CENTER FOR DISABILITY ACCESS
25
26
                                             By: /s/Isabel Rose Masanque
                                             Isabel Rose Masanque, Esq.
27                                           Attorney for Plaintiff
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     Plaintiff’s Notice of Voluntary Dismissal
